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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

TYRONE CADE,                            §
                  Petitioner,           §
                                        §
v.                                      § Civil Action No. 3:17-CV-03396-G
                                        §
LORIE DAVIS, Director,                  §       DEATH PENALTY CASE
Texas Department of Criminal            §
Justice, Correctional Institutions      §
Division,                               §
                  Respondent.           §

                RESPONDENT’S FIRST MOTION
        FOR EXTENSION OF TIME WITH BRIEF IN SUPPORT

      This is a federal habeas corpus proceeding initiated by Petitioner Tyrone

Cade, a death-sentenced Texas inmate, pursuant to 28 U.S.C. § 2254. On April

12, 2021, the Court ordered Cade to file a second amended petition within 90

days of its order; on June 28, 2021, the Court granted Cade his motion for

extension of time to file his second amended petition by August 10, 2021. ECF

Nos. 122, 124. Cade filed his second amended petition on August 10, 2021. ECF

No. 127. Respondent Bobby Lumpkin’s (“the Director”) response is therefore

due on November 8, 2021. However, the Director respectfully requests a sixty-

day extension of time, to January 7, 2022, to file his response.

      This is a capital federal habeas corpus proceeding with a voluminous

record and complex legal issues that will necessitate extensive review and

writing. The undersigned attorney was not involved in the prior proceedings
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in this Court. Therefore, the undersigned attorney requires additional time to

carefully review the voluminous record and to prepare an appropriate

responsive pleading. Also, the undersigned attorney is currently assisting her

colleague by answering 27 jury issues raised on direct appeal in Lewis v. State,

No. AP-77,086, due before the Texas Court of Criminal Appeals on December

22, 2021, a deadline that has been extended once.

      This is the Director’s first request for an extension of time to respond to

Cade’s second amended petition. This request is not designed to harass Cade,

nor to unnecessarily delay these proceedings, but to ensure that Cade’s second

amended petition is properly addressed. Accordingly, the Director respectfully

requests a sixty-day extension to file his response to Cade’s second amended

petition and supporting memorandum.


                                     Respectfully submitted,


                                     KEN PAXTON
                                     Attorney General of Texas

                                     BRENT WEBSTER
                                     First Assistant Attorney General

                                     JOSH RENO
                                     Deputy Attorney General
                                     For Criminal Justice

                                     EDWARD L. MARSHALL
                                     Chief, Criminal Appeals Division
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                                     s/ Cara Hanna
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                                     ATTORNEYS FOR RESPONDENT




                    CERTIFICATE OF CONFERENCE

      On November 4 and 5, 2021, the undersigned attempted to contact

counsel for Cade but, as of the time of this filing, has been unable to conference

on the instant motion.

                                     s/ Cara Hanna
                                     CARA HANNA
                                     Assistant Attorney General




                         CERTIFICATE OF SERVICE

      I do herby certify that on November 5, 2021, I electronically filed the

foregoing document with the Clerk of the Court for the U.S. District Court,

Northern District of Texas, using the electronic case-filing system of the Court.
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The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to

the following counsel of record, who consented in writing to accept the NEF as

service of this document by electronic means:

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                                          s/ Cara Hanna
                                          CARA HANNA
                                          Assistant Attorney General




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